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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                           Case No.: 1:21-cr-00609-APM-1

       v.

JEREMY BROWN.
_____________________________/

                                      MOTION TO CONTINUE TRIAL

       COMES NOW Jeremy Brown, via undersigned counsel, and moves this Honorable Court to

Continue Trial now scheduled for September 4th, 2024 and as grounds states as follows:

       1. Trial is set in this matter for September 4th, 2024.

       2. Defense attempted to have the Trial conducted via videoconference with Defendant

            remaining in Citrus Correctional in Florida due to her heart condition and, importantly, so as

            to not disrupt communications between attorney and client for the 14 days prior to trial

            readiness. (ECF # 67).

       3. During the 14 days attorney and client were disallowed communications in preparation for

            trial, the Witness and Exhibit lists became due.

       4. Defense intends on calling any and all necessary rebuttal witnesses of which Defendant has

            provided over 30 names.

       5. Due to the lack of communication between attorney and client, counsel was not able to

            discuss or ascertain who most of the witnesses are or their addresses and contact

            information.

       6. Attorney was able to visit and communicate with Brown for the first time since August 14th,

            2024 on August 28th, 2024 at the DC jail.

       7. The visit was difficult and contentious and counsel began having severe chest pain and had

            to depart the facility.
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       8. Attorney and client request a continuance of at least 14 days so that attorney can adequately

           prepare defendant for trial, including direct examination, while in DC and secure all

           necessary rebuttal witnesses to be on standby to testify.

       9. Counsel can and will remain in DC for the next two weeks, the amount of time that attorney

           client communications were disallowed, in order to be able to adequately prepare for trial

           with her client and secure rebuttal witnesses for trial.

       10. Defendant was greatly prejudiced by not being able to have any attorney client

           communications for the last two weeks with his counsel.

       11. It is unreasonable for the Court and/or the Government to expect attorney and client to

           adequately prepare for trial over the labor day weekend after being disallowed

           communication for two weeks immediately prior to trial.



       WHEREFORE, Defendant respectfully requests this Honorable Court grant this Motion to

Continue Trial, schedule a Trial date at least two weeks out, and enter its Order accordingly.




                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Continue Trial has
been furnished via Electronic Filing to Eli Ross, AUSA, Rebekah Lederer, AUSA, Kathryn Racowzsky,
AUSA, and all other parties listed on this 29th day of August, 2024.


                                                     /S/ Maria T. Rodriguez
                                                     ______________________________
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